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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


United States of America
                                                               NOTICE

         vs.                                             Case No. 2:20-CR-94-02

                                                        Judge Sarah D. Morrison

KWAME O. YEBOAH

      TAKE NOTICE that a proceeding in this case has been set for the place, date, and
time set forth below:

Place:          United States District Court                 COURTROOM # 132
                Joseph P. Kinneary U.S. Courthouse
                85 Marconi Boulevard                        February 27, 2023, at 10:00 a.m.
                Columbus, Ohio 43215


TYPE OF PROCEEDING: SENTENCING HEARING


**The following schedule is established:
(1) Any sentencing memorandum must be filed no later than seven days prior to sentencing. The
memorandum
shall address the statutory sentencing factors, including any proposed variances from the
guideline sentencing
range.
(2) A reply memorandum, while not necessary, shall be filed no later than three days prior to
sentencing.
(3) Motions under 18 U.S.C. §3553(e) or U.S.S.G. §5K1.1 shall be filed at least three days prior to
sentencing.

                                                 Sarah D. Morrison
                                                 UNITED STATES DISTRICT JUDGE
DATE:          February 16, 2023

                                                 s/ Maria Rossi Cook
                                            (By) Maria Rossi Cook, Deputy Clerk
To: Counsel served electronically via CM/ECF
      United States Probation
